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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
    In re:                                             §
                                                       §       Chapter 11
                                                  1
    LOCKWOOD HOLDINGS, INC., et al.,                   §
                                                       §       Case No. 18-30197 (DRJ)
              Debtors.                                 §
                                                       §       Jointly Administered
                                                       §

    DEBTORS’ EMERGENCY APPLICATION (I) AUTHORIZING THE RETENTION OF
       GLASSRATNER ADVISORY & CAPITAL GROUP LLC TO PROVIDE CHIEF
      RESTRUCTURING OFFICER AND CERTAIN ADDITIONAL PERSONNEL, (II)
       DESIGNATING MARK SHAPIRO AS CHIEF RESTRUCTURING OFFICER
     EFFECTIVE AS OF JANUARY 26, 2018, AND (III) GRANTING RELATED RELIEF

THIS APPLICATION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
THE APPLICATION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A
COPY TO THE MOVING PARTY. YOUR RESPONSE MUST STATE WHY THE APPLICATION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE APPLICATION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE APPLICATION AT THE
HEARING.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE APPLICATION ON AN
EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS TO ANSWER. IF YOU OBJECT TO THE
REQUESTED RELIEF OR IF YOU BELIEVE THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED,
YOU SHOULD FILE AN IMMEDIATE RESPONSE. A HEARING WILL BE HELD ON THIS MATTER ON
FEBRUARY 7, 2018 AT 11:00 A.M. (CT) BEFORE THE HONORABLE DAVID R. JONES, 515 RUSK STREET,
COURTROOM 400, HOUSTON, TEXAS 77002.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


             Lockwood Holdings, Inc. and certain of its affiliates, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), for their Emergency Application (the


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); Lockwood Enterprises, Inc. (6504); LMG Manufacturing, Inc. (9468); and
7807 Eagle Lane, LLC (7382).
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“Application”) (I) Authorizing the Retention of GlassRatner Advisory & Capital Group LLC

(“GlassRatner”) to Provide the Debtors with a Chief Restructuring Officer (“CRO”) and Certain

Additional Personnel (“GlassRatner Personnel”), (II) Designating Mark Shapiro as CRO

Effective as of January 26, 2018, pursuant to that certain engagement letter agreement by and

between the Debtors and GlassRatner, dated January 26, 2018, a copy of which is attached hereto

as Exhibit A (the “Engagement Agreement”), and (III) Granting Related Relief, respectfully

represent:

                                  JURISDICTION AND VENUE

            1.   The Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

            2.   Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

            3.   The bases for the relief requested herein are sections 105 and 363(b) of title 11 of

the United States Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and Rule 2016-1 of the Bankruptcy Local Rules for the

Southern District of Texas (the “Bankruptcy Local Rules”).

                                    PROCEDURAL HISTORY

            4.   On January 18, 2018 (the “First Petition Date”), Lockwood Holdings, Inc., LH

Aviation, LLC and Piping Components, Inc. filed voluntary petitions for relief under chapter 11

of the Bankruptcy Code. On January 24, 2018 (the “Second Petition Date,” and together with

January 18, 2018 the “Petition Dates”), Lockwood International, Inc., Lockwood Enterprises,

Inc., LMG Manufacturing, Inc., and 7807 Eagle Lane, LLC filed voluntary petitions for relief

under chapter 11 of the Bankruptcy Code.

            5.   Pursuant to sections 1107 and 1108 of the Bankruptcy Code, the Debtors each



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remain in possession of their property and each is managing its business as a debtor in

possession. No trustee, examiner, or official committee has been appointed.

                                   FACTUAL BACKGROUND

            6.   Founded in 1977 in Houston, Texas, Lockwood International, Inc. (“LII”) is an

international supplier of valves and valve automation, offering pipe, valves, fittings and flanges,

as well as engineered products for liquid handling and transfer, liquid management, as well as

access and safety equipment. LII primarily supplies customers in the petrochemical, oil and gas,

and construction industries.

            7.   A detailed description of the Debtors and their businesses, and the facts and

circumstances supporting the Debtors’ chapter 11 cases, are set forth in greater detail in the

Emergency Motion for Interim and Final Orders (A) Authorizing Use of Cash Collateral

Pursuant to Section 363(c) of the Bankruptcy Code and (B) Scheduling a Final Hearing

Pursuant to Bankruptcy Rule 4001 [Docket No. 14].

                                     RELIEF REQUESTED

            8.   By this Application, the Debtors seek entry of an order substantially in the form

attached hereto as Exhibit C, pursuant to sections 105 and 363(b) of the Bankruptcy Code (a)

authorizing (i) the retention of GlassRatner to provide the Debtors with a CRO as well as

additional GlassRatner Personnel to assist the CRO in the performance of his duties, and (ii)

designating Mark Shapiro as the Debtors’ CRO (together with the GlassRatner Personnel, the

“Engagement Personnel”), effective as of January 26, 2018, and (b) granting related relief.

Attached hereto as Exhibit B, in support of the Application, is the Declaration of Mark Shapiro

(the “Shapiro Declaration”).




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                                  RETENTION OF GLASSRATNER

            9.      GlassRatner was retained by the Debtors on January 26, 2018, as the Debtors’

chief restructuring officer, in order to assist the Debtors with evaluating their restructuring

options and otherwise help maximize the value of the Debtors’ business and estates for the

benefit of their constituents.

            10.     In consideration of the size and complexity of their businesses, as well as the

exigencies of the circumstances, the Debtors require the assistance of a qualified and experienced

chief restructuring officer with the resources, capabilities, and experience of GlassRatner, Mr.

Shapiro and the Engagement Personnel. GlassRatner performs critical services that complement

the services provided by the Debtors’ other professionals.

            11.     The Debtors believe that GlassRatner, Mr. Shapiro and the Engagement Personnel

are well qualified to provide restructuring management services that will assist and enhance the

Debtors’ efforts to maximize the value of their estates. GlassRatner has a wealth of experience in

providing restructuring advisory services, and enjoys an excellent reputation in the restructuring

community for services it has rendered on behalf of debtors and creditors throughout the United

States.

            12.     GlassRatner’s professionals have assisted, advised, and provided strategic advice

to debtors, creditors, bondholders, investors, and other entities in numerous chapter 11 cases of

similar size and complexity to the Debtors’ chapter 11 cases.

            13.     Mark Shapiro, a CPA and a Senior Managing Director at GlassRatner, will act as

CRO for the Debtors. Mr. Shapiro has more than 25 years of strategy, finance, and turnaround

experience gained from holding corporate management roles and from advising companies in

transition.       A list of Mr. Shapiro’s representative engagements is set forth in the Shapiro



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Declaration.

                                 SERVICES TO BE PROVIDED

            14.   Subject to Court approval, the Debtors propose to retain GlassRatner to make

available to the Debtors the Engagement Personnel, on the terms and conditions provided in the

Engagement Agreement, 2 except as otherwise set forth herein or in any order granting this

Application. The terms and conditions of the Engagement Agreement were negotiated between

the Debtors and GlassRatner at arm’s-length and reflect the parties’ mutual agreement as to the

efforts that will be required for this engagement.

            15.   Generally, the Engagement Personnel shall perform activities and services to

oversee the Debtors’ chapter 11 process and assist with maximizing the value of the Debtors’

estates. The CRO shall report to the Debtors’ board of directors. In addition to the ordinary

course duties of a CRO, the Engagement Personnel may also work with the Debtors on the

following:

                  (a)   Assisting in all aspects of the Debtors’ business activities and operations,
                        including budgeting, cash management and financial management;
                  (b)   Opening and closing bank accounts of the Debtors;
                  (c)   Negotiations regarding the relationship with the Debtors’ lenders and
                        investors;
                  (d)   Negotiations with vendors, customers and other creditors;
                  (e)   Hiring and terminating of employees of the Debtors;
                  (f)   Review of daily operating activity;
                  (g)   Preparing and holding the Debtors to the budgets prepared and submitted
                        by the CRO;
                  (h)   Evaluating liquidity options including restructuring, refinancing,
                        reorganizing, or a sale of the Debtors’ assets pursuant to Section 363 of the
                        Bankruptcy Code, subject to approval of the Bankruptcy Court, and
                        develop a plan for same;

2
 Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Engagement
Agreement.


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                  (i)    Reviewing purchases and expenses;
                  (j)    Causing the Debtors to exercise the Debtors’ rights under any agreements;
                  (k)    Acting as the Debtors representative in court hearings as appropriate;
                  (l)    Attend hearings;
                  (m)    Sign relevant petitions and schedules;
                  (n)    Develop and review monthly operating reports and ensure they are filed
                         on a timely basis with the Bankruptcy Court;
                  (o)    Operate the business during the bankruptcy;
                  (p)    Pursue litigation and claims the estate may have; and
                  (q)    Act as the “Responsible Party” for all corporate decisions.

 Such professional services are necessary to the Debtors’ efforts to maximize value and to the

 ongoing operation and management of the Debtors’ businesses while they are in chapter 11.

            16.   When necessary, GlassRatner will inform the Debtors as to any changes to

GlassRatner’s staffing of the Engagement Personnel and will not add additional GlassRatner

Personnel to the engagement without first notifying and consulting with the Debtors to obtain the

Debtors’ agreement that such resources are necessary and not duplicative of the services being

provided by other employees or professionals.

                           GLASSRATNER’S DISINTERESTEDNESS

            17.   To the best of the Debtors’ knowledge, and except to the extent disclosed herein

and in the Shapiro Declaration, GlassRatner: (a) has no connection with the Debtors, their

creditors or other parties in interest, or the attorneys or accountants of the foregoing, or the

Office of the United States Trustee for the Southern District of Texas (the “U.S. Trustee”) or any

person employed in the Office of the U.S. Trustee; (b) does not hold any interest adverse to the

Debtors’ estates; and (c) believes it is a “disinterested person” as defined by section 101(14) of

the Bankruptcy Code.

            18.   Although the Debtors respectfully submit that the retention of GlassRatner is not


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governed by section 327 of the Bankruptcy Code, GlassRatner ran a conflict check and to the

best of its knowledge, does not have connections with creditors, equity security holders, or other

parties in interest related to these chapter 11 cases. GlassRatner does not represent an interest

materially adverse to the Debtors’ estates and does not have a conflict of interest regarding the

Debtors or these chapter 11 cases.

            19.   To the extent that any new facts or relationships bearing on the matters described

herein are discovered or arise, GlassRatner will promptly file supplemental disclosures.

                                     TERMS OF RETENTION

I.          Professional Compensation and Expense Reimbursement

            20.   GlassRatner’s acceptance of this engagement is conditioned upon its ability to be

retained and compensated in accordance with its customary terms and conditions and in

accordance with the Engagement Agreement (all such proposed terms, the “Fee and Expense

Structure”), described more fully below and in the Engagement Agreement, to which the Debtors

respectfully refer the Court.

            21.   GlassRatner and Mr. Shapiro were retained by the Debtors on January 26, 2018 as

chief restructuring officer. The current hourly billing rates for Mr. Shapiro and the GlassRatner

Personnel required for this assignment is as follows:

                         Mark Shapiro, CRO                $450 per hour
                         Michael Thatcher                 $395 per hour
                         Tess Wolf                        $295 per hour
                         Todd Beresin                     $275 per hour
                         Other staff as appropriate       ($195-$395 per hour)

GlassRatner may adjust its rates from time to time with reasonable advance notice to the

Debtors.

            22.   In addition to compensation for professional services rendered by the Engagement



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Personnel, GlassRatner will seek reimbursement for reasonable and necessary out-of-pocket

expenses incurred in connection with these chapter 11 cases, including reasonable fees and

expenses of its counsel incurred in connection with the enforcement of this Agreement.

GlassRatner will not charge for travel time.

II.         Indemnification

            23.   As more fully described in the Engagement Agreement, the Debtors seek

authority to indemnify GlassRatner and Mr. Shapiro to the same extent the Debtors indemnify

their officers or directors. Specifically, the Debtors have agreed to indemnify and hold harmless

GlassRatner, its shareholders, officers, employees, agents, representatives, and subcontractors

against any and all losses, claims, damages, liabilities, penalties, obligations, and expenses,

including reasonable legal fees and expenses, based upon or arising out of GlassRatner’s

performance of services in these chapter 11 cases, except where any claims or losses are due to

willful misconduct or gross negligence, as determined by a final judgment from which all

appeals have been exhausted.

                                     FEES AND REPORTING

            24.   Upon Court approval of the relief requested herein, GlassRatner will be retained

to provide the Debtors with the necessary Engagement Personnel, and Mr. Shapiro will be

designated as the Debtors’ CRO pursuant to sections 363 and 105(a) of the Bankruptcy Code.

Because GlassRatner is not being employed as a professional under section 327 of the

Bankruptcy Code, the Debtors request that GlassRatner not be required to submit fee

applications pursuant to sections 330 and 331 of the Bankruptcy Code. Instead, GlassRatner will

submit monthly invoices to the Debtors, and the Debtors seek authority to pay those invoices in

the ordinary course of business. In addition, GlassRatner will serve on counsel to Wells Fargo,



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the U.S. Trustee, and any official committee appointed in these chapter 11 cases (collectively, the

“Notice Parties”) a quarterly report of compensation earned and expenses incurred (the

“Compensation Report”) summarizing the services provided, identifying compensation earned

by each executive officer and staff employee, and itemizing expenses incurred. The Notice

Parties shall have twenty (20) days after the date on which each Compensation Report is served

upon them to object. Compensation and expenses identified in GlassRatner’s Compensation

Reports will be subject to review by the Court in the event an objection is filed. GlassRatner will

serve its first quarterly Compensation Report by May 20, 2018.

            25.   GlassRatner did not receive a retainer and did not receive any prepetition

payments from the Debtors in connection with these chapter 11 cases.

                                NO DUPLICATION OF SERVICES

            26.   The Debtors expect to apply to the Court for authorization to retain (a) Gray Reed

& McGraw LLP as bankruptcy counsel and (b) Spagnoletti & Co. as special litigation counsel.

However, the Engagement Personnel will complement, and not duplicate, the services to be

rendered by these and any other professionals retained in these chapter 11 cases. GlassRatner

will work cooperatively with all of the Debtors’ other professionals to ensure that value is

maximized and that services are not duplicated.

                                 ARGUMENTS & AUTHORITIES

            27.   The Debtors seek to employ and retain GlassRatner and appoint Mr. Shapiro as

CRO pursuant to sections 363 and 105(a) of the Bankruptcy Code, effective as of January 26,

2018. Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that “[t]he trustee,

after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” Further, pursuant to section 105(a) of the Bankruptcy Code, the “court



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may issue any order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.”

            28.   Under applicable case law in this and other jurisdictions, a debtor’s proposed use

of its assets pursuant to section 363(b) of the Bankruptcy Code, other than in the ordinary course

of business, is authorized when the debtor demonstrates a sound business purpose for the

intended use. See Institutional Creditors of Cont’l Air Lines, Inc. v. Cont’l Air Lines, Inc. (In re

Cont’l Air Lines, Inc.), 780 F.2d 1223, 1226 (5th Cir. 1986) (“[I]mplicit in § 363(b) is the further

requirement of justifying the proposed transaction. That is, for the debtor-in-possession or trustee

to satisfy its fiduciary duty to the debtor, creditors and equity holders, there must be some

articulated business justification for using, selling, or leasing the property outside the ordinary

course of business”) (citing In re Lionel Corp., 722 F.2d 1063, 1071 (2d Cir. 1983)); see also In

re ASARCO, L.L.C., 650 F.3d 593, 601 (5th Cir. 2011) (“The business judgment standard in

section 363 is flexible and encourages discretion”); In re Montgomery Ward Holding Corp., 242

B.R. 147, 153 (D. Del. 1999) (use of assets outside the ordinary course of business permitted if

“sound business purpose justifies such actions”); Comm. of Asbestos-Related Litigants v. Johns-

Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986) (“Where

the debtor articulates a reasonable basis for its business decisions (as distinct from a decision

made arbitrarily or capriciously), courts will generally not entertain objections to the debtor’s

conduct”).

            29.   The retention of a CRO is necessary and appropriate under the circumstances.

The Debtors’ back office is understaffed and lacks both the manpower and experience to handle

the extensive administrative matters required in a chapter 11 case, while at the same time

operating the business and maximizing value.           An experienced professional in financial,



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operational, and bankruptcy-specific matters is a necessary and integral part of maximizing value

and ensuring efficiency and compliance with the Bankruptcy Code, the Bankruptcy Rules and

the various bankruptcy reporting obligations imposed on debtors in possession.

            30.     The decision to retain GlassRatner and employ Mr. Shapiro as CRO is a sound

exercise of the Debtors’ business judgment. First, Mr. Shapiro has extensive experience as an

advisor for many troubled companies and has extensive experience in chapter 11 cases. The

Debtors believe that Mr. Shapiro, in his capacity as CRO, and the GlassRatner Personnel, will

provide services that will benefit the Debtors’ estates and creditors. In addition, GlassRatner has

extensive experience in providing restructuring consulting services in chapter 11 proceedings and

enjoys an excellent reputation as a restructuring firm throughout the United States. Second, the

economic terms of GlassRatner’s retention are fair, reasonable, and beneficial to the Debtors’

estates, and were negotiated at arm’s-length. The Debtors believe that the Fee and Expense

Structure is comparable to those generally charged by restructuring advisors of similar stature to

GlassRatner for similar engagements. Given the numerous issues that GlassRatner may be

required to address in the performance of its services hereunder, and the market prices for

GlassRatner’s services for engagements of this nature both in and out of court contexts, the

Debtors believe that the Fee and Expense Structure is in line with market compensation for

similar services and is fair and reasonable.

            31.     For the reasons set forth herein, the Debtors respectfully submit that the retention

of GlassRatner and the employment of Mr. Shapiro as the Debtors’ CRO is a sound exercise of

the Debtors’ business judgment and in the best interests of all parties in interest in these chapter

11 cases.         The Debtors further believe that GlassRatner is well qualified and equipped to

represent the Debtors in a cost-effective, efficient, and timely manner. Accordingly, the Debtors



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respectfully request that the Court authorize the Debtors to retain GlassRatner to provide the

Debtors with a CRO, as well as any additional and necessary GlassRatner Personnel, and to

designate Mr. Shapiro as the CRO to the Debtors, effective as of January 26, 2018, all pursuant

to section 363 of the Bankruptcy Code.

            32.   Courts in this District and in other jurisdictions have approved relief similar to

that requested in this Application. See, e.g., In re Buccaneer Res., LLC, No. 14-60041, (DRJ)

(Bankr. S.D. Tex. July 8, 2014) [Docket No. 191]; In re Rotary Drilling Tools USA LLC, No. 16-

33433 (MI) (Bankr. S.D. Tex. Sept. 8, 2016) [Docket No. 146]; In re ATP Oil & Gas Corp., No

12-36187 (MI) (Bankr. S.D. Tex. Sept. 27, 2012) [Docket No. 481]; In re Alco Stores, Inc., No.

14-34941 (SGJ) (Bankr. N.D. Tex. Nov. 24, 2014) [Docket No. 379]; In re Pilgrim’s Pride Corp.,

No. 08-45664 (DML) (Bankr. N.D. Tex. Feb. 9, 2009) [Docket No. 825]; In re Veritis Holdings,

Inc., No. 12-12821 (CSS) (Bankr. D. Del. Nov. 20, 2012) [Docket No. 293].

            33.   Based on the foregoing, the Debtors respectfully submit that the retention of

GlassRatner, and the designation of Mark Shapiro as the Debtors’ CRO on the terms set forth

herein and in the Engagement Agreement, is necessary, appropriate, and in the best interest of the

Debtors’ estates, creditors, and other parties in interest and should be approved.

                                EMERGENCY CONSIDERATION

            34.   Pursuant to Bankruptcy Local Rule 9013-1(i), the Debtors respectfully request

emergency consideration of this application pursuant to Bankruptcy Rule 6003, which empowers

a court to grant relief within the first 21 days after the commencement of a chapter 11 case “to

the extent that relief is necessary to avoid immediate and irreparable harm.” As set forth in this

Application, the Debtors believe that the retention of GlassRatner and Mr. Shapiro as CRO is

critical to the Debtors’ orderly transition into chapter 11 and the continued viability of their



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operations. Any delay in granting the relief requested could hinder the Debtors’ operations and

cause irreparable harm. Accordingly, the Debtors submit that they have satisfied the “immediate

and irreparable harm” standard of Bankruptcy Rule 6003 and, therefore, respectfully request that

the Court approve the relief requested in this application on an emergency basis.

                    WAIVER OF BANKRUPTCY RULE 6004(A) AND 6004(H)

            35.   To implement the foregoing successfully, the Debtors request that the Court enter

an order providing that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a)

and that the Debtors have established cause to exclude such relief from the 14-day stay period

under Bankruptcy Rule 6004(h).

                                              NOTICE

            36.   The Debtors have provided notice of this Application to: (a) the Office of the

United States Trustee for the Southern District of Texas; (b) counsel to Wells Fargo as

administrative agent under the Debtors’ credit agreement; (c) the holders of the 30 largest

unsecured claims against the Debtors (on a consolidated basis); and (d) any party that has

requested notice pursuant to Bankruptcy Rule 2002. The Debtors respectfully submit that, in

light of the nature of the relief requested, no other or further notice need be given.

                                       NO PRIOR REQUEST

            37.   No prior request for the relief sought in this Application has been made to this or

any other court.

            WHEREFORE, the Debtors respectfully request entry of an order, substantially in the

form attached hereto as Exhibit C, granting the relief requested herein and granting such other

relief as is just and proper.




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            Respectfully submitted this 31st day of January, 2018.

                                                 GRAY REED & McGRAW LLP

                                                 By: /s/ Jason S. Brookner
                                                     Jason S. Brookner
                                                     Texas Bar No. 24033684
                                                 1300 Post Oak Blvd., Suite 2000
                                                 Houston, Texas 77056
                                                 Telephone: (713) 986-7000
                                                 Facsimile: (713) 986-7100
                                                 Email:      jbrookner@grayreed.com

                                                 -and-

                                                     Lydia R. Webb
                                                     Texas Bar No. 24083758
                                                 1601 Elm Street, Suite 4600
                                                 Dallas, Texas 75201
                                                 Telephone: (214) 954-4135
                                                 Facsimile: (214) 953-1332
                                                 Email:      lwebb@grayreed.com

                                                 PROPOSED COUNSEL TO THE DEBTORS



                                    CERTIFICATE OF SERVICE

        I do hereby certify that on January 31, 2018, a true and correct copy of the foregoing
pleading was served via CM/ECF to all parties authorized to receive electronic notice in this
case, via electronic mail on counsel to the Wells Fargo as administrative agent, and on the parties
appearing on the attached Limited Service List via first class U.S. mail, postage prepaid (or as
otherwise indicated).

                                                  /s/ Jason S. Brookner
                                                  Jason S. Brookner




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                                       EXHIBIT A

                                  Engagement Agreement




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                           EXHIBIT B

                        Shapiro Declaration
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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                          §
    In re:                                                §
                                                          §       Chapter 11
    LOCKWOOD HOLDINGS, INC., et al., 1                    §
                                                          §       Case No. 18-30197 (DRJ)
               Debtors.                                   §
                                                          §       Jointly Administered
                                                          §

         DECLARATION OF MARK SHAPIRO IN SUPPORT OF THE DEBTORS’
        APPLICATION (I) AUTHORIZING THE RETENTION OF GLASSRATNER
      ADVISORY & CAPITAL GROUP LLC TO PROVIDE CHIEF RESTRUCTURING
     OFFICER AND CERTAIN ADDITIONAL PERSONNEL, (II) DESIGNATING MARK
         SHAPIRO AS CHIEF RESTRUCTURING OFFICER EFFECTIVE AS OF
             JANUARY 26, 2018, AND (III) GRANTING RELATED RELIEF

             Mark Shapiro declares under penalty of perjury, pursuant to 28 U.S.C. § 1746, as follows:

             1.     I am a CPA and a Senior Managing Director at GlassRatner Advisory & Capital

Group LLC (“GlassRatner” or the “Firm”). I am duly authorized to execute this declaration on

behalf of GlassRatner, and in support of the Application (the “Application”) filed by Lockwood

Holdings, Inc. and certain of its affiliates, the above-captioned debtors and debtors in possession

(the “Debtors”), (I) Authorizing the Retention of GlassRatner to Provide the Debtors with a CRO

and Certain Additional Personnel, (II) Designating Mark Shapiro as CRO Effective as of January

26, 2018, and (III) Granting Related Relief. 2                 I submit this declaration in support of the

Application and to make necessary disclosures. Unless otherwise stated in this declaration, I

have personal knowledge of the facts set forth herein.


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); Lockwood Enterprises, Inc. (6504); LMG Manufacturing, Inc. (9468); and
7807 Eagle Lane, LLC (7382).
2
    Capitalized terms not otherwise defined herein will have the meanings ascribed to them in the Application.


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                                THE FIRM’S QUALIFICATIONS

            2.    The Firm is a national specialty financial advisory services firm, focused in the

areas of bankruptcy and restructuring, mergers and acquisitions, and forensic accounting,

primarily in distressed or difficult situations. The Firm is a member of BTG Global Advisory,

one of the world’s largest specialist independent insolvency and restructuring alliances. The

Firm’s professionals have assisted, advised, and provided strategic advice to debtors, creditors,

bondholders, investors, and other entities in numerous chapter 11 cases of similar size and

complexity to the Debtors’ chapter 11 cases. Examples of the Firm’s recent engagements as

restructuring or crisis managers include the following:

                  •      CRO for distressed healthcare services provider
                  •      CRO for distressed merchant payment processor
                  •      CAO and estate representative for off-airport parking operator in
                         bankruptcy
                  •      Financial advisor to the debtors, online pharmaceutical retailer and
                         services provider, in bankruptcy
                  •      Financial advisor and estate representative for media company in
                         bankruptcy
                  •      Financial advisor for distressed provider of wireless telecom services
                  •      CEO for $200 AUM, highly-levered, private equity-sponsored investor in
                         tax lien assets
                  •      CFO for a $5 billion, 2,000 location general merchandise retailer
                  •      CFO for $15 billion distribution company operating in bankruptcy
                  •      CFO for $80 million distributor of plumbing, pipe, valves, fittings and
                         industrial supplies
                  •      CFO for $300 million highly-levered, private equity-sponsored consumer
                         electronics retailer
                  •      CFO for $2 billion international parking operator
                  •      Interim CFO for privately-held apparel retailer

            3.    GlassRatner Personnel will work closely with the Debtors’ management and other

professionals throughout the chapter 11 process to maximize value and to ensure there is no

duplication of services. By virtue of its restructuring personnel’s expertise, the Firm is uniquely

well-qualified to provide services to and represent the Debtors’ interests in these chapter 11



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cases.

                                  SERVICES TO BE PROVIDED

            4.    In addition to the ordinary course duties of a CRO, the Engagement Personnel

may work with the Debtors to do the following:

                   (a)    Assisting in all aspects of the Debtors’ business activities and operations,
                          including budgeting, cash management and financial management;
                   (b)    Opening and closing bank accounts of the Debtors;
                   (c)    Negotiations regarding the relationship with the Debtors’ lenders and
                          investors;
                   (d)    Negotiations with vendors, customers and other creditors;
                   (e)    Hiring and terminating of employees of the Debtors;
                   (f)    Review of daily operating activity;
                   (g)    Preparing and holding the Debtors to the budgets prepared and submitted
                          by the CRO;
                   (h)    Evaluating liquidity options including restructuring, refinancing,
                          reorganizing, or a sale of the Debtors’ assets pursuant to Section 363 of
                          the Bankruptcy Code, subject to approval of the Bankruptcy Court, and
                          develop a plan for same;
                   (i)    Reviewing purchases and expenses;
                   (j)    Causing the Debtors to exercise the Debtors’ rights under any
                          agreements;
                   (k)    Acting as the Debtors representative in court hearings as appropriate.
                   (l)    Attend hearings;
                   (m)    Sign relevant petitions and schedules;
                   (n)    Develop and review monthly operating reports and ensure they are filed
                          on a timely basis with the Bankruptcy Court;
                   (o)    Operate the business during the bankruptcy;
                   (p)    Pursue litigation and claims the estate may have; and
                   (q)    Act as the “Responsible Party” for all corporate decisions.

                               PROFESSIONAL COMPENSATION

            5.    In consideration of the services to be provided by the Firm, the Debtors have, in

addition to the indemnification provisions, agreed to the fee and expense structure set forth in the



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Engagement Agreement. The current hourly billing rates, based on the position of the particular

Engagement Personnel are subject to the following ranges:

                         Mark Shapiro, CRO                $450 per hour
                         Michael Thatcher                 $395 per hour
                         Tess Wolf                        $295 per hour
                         Todd Beresin                     $275 per hour
                         Other staff as appropriate       ($195-$395 per hour)

The Firm may adjust its rates from time to time with reasonable advance notice to the Debtors.

            6.    The Fee and Expense Structure is consistent with the Firm’s normal and

customary billing practices for comparably sized and complex cases and transactions, both in and

out of court. The Engagement Agreement was negotiated at arm’s-length and in good faith, and

the Firm believes that the Fee and Expense Structure is both reasonable and consistent with the

market for such services.

            7.    In light of the foregoing, and given the issues that the Firm may be required to

address in the performance of its services, the Firm believes that the Fee and Expense Structure

is fair, reasonable, and market-based.

            8.    Upon Court approval of the relief requested in the Application, the Firm will be

retained to provide the Debtors with the necessary Engagement Personnel and Mr. Shapiro will

be designated as the Debtors’ CRO pursuant to sections 363 and 105(a) of the Bankruptcy Code.

Because the Firm is not being employed as a professional under section 327 of the Bankruptcy

Code, the Debtors has requested, and the Firm requests, that the Firm not be required to submit

fee applications pursuant to sections 330 and 331 of the Bankruptcy Code. Instead, the Firm will

submit monthly invoices to the Debtors, notwithstanding any language to the contrary in the

Engagement Agreement, commencing with the post-petition period ending April 30, 2018. By

the Application, the Debtors seek to pay these invoices in the ordinary course of their business.

In addition, the Firm will serve on counsel to Wells Fargo, the U.S. Trustee, and any official


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committee appointed in these chapter 11 cases (collectively, the “Notice Parties”) a quarterly

report of compensation earned and expenses incurred (the “Compensation Report”) summarizing

the services provided, identifying compensation earned by each executive officer and staff

employee, and itemizing expenses incurred. The Notice Parties shall have twenty (20) days after

the date on which each Compensation Report is served upon them to object. Compensation and

expenses identified in the Firm’s Compensation Reports will be subject to review by the Court in

the event an objection is filed. The Firm will file its first quarterly Compensation Report by May

20, 2018.

                                        INDEMNIFICATION

            9.    As more fully described in the Engagement Agreement, the Debtors have agreed

to indemnify and hold harmless the Firm and the Engagement Personnel from any and all losses,

claims, damages, penalties, obligations, expenses, or liabilities, including reasonable legal fees

and expenses, based upon or arising out of the Firm’s performance of services in these chapter 11

cases, except where any claims or losses are due to willful misconduct, or gross negligence, as

determined by a final judgment from which all appeals have been exhausted.

                              THE FIRM’S DISINTERESTEDNESS

            10.   In connection with its proposed retention by the Debtors in these chapter 11 cases,

the Firm undertook to determine whether it had any conflicts or other relationships that might

cause it not to be disinterested or to hold or represent an interest adverse to the Debtors.

Specifically, the Firm obtained from the Debtors or their representatives the names of individuals

and entities that may be parties in interest in these chapter 11 cases (“Potential Parties in

Interest”). Such parties are listed on Schedule 1 attached hereto. A search was performed for

connections to the Potential Parties in Interest, and based on that review, the Firm represents that,




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to the best of its knowledge, the Firm knows of no fact or situation that would represent a

conflict of interest for the Firm with regard to the Debtors.

            11.   The Firm and the GlassRatner Personnel are advisors and crisis managers

providing services and advice in many areas, including restructuring and distressed debt. As part

of its diverse practice, the Firm appears in numerous cases, proceedings, and transactions

involving many different attorneys, accountants, investment bankers, and financial consultants,

some of whom may represent claimants and parties in interest in these chapter 11 cases. Further,

the Firm may have in the past been, currently be, and may in the future be represented by several

attorneys and law firms, some of whom may be involved in these chapter 11 cases. In addition,

the Firm has been in the past, is currently, and likely will be in the future, engaged in matters

unrelated to the Debtors or these chapter 11 cases in which it works with or against other

professionals involved in these cases. Moreover, the Firm might have referred work to other

professionals who are retained in these chapter 11 cases. Likewise, certain such professionals

who are retained in these chapter 11 cases might have referred work to the Firm. To the best of

my knowledge, information, and belief, insofar as I have been able to ascertain after reasonable

inquiry, none of these business relations constitute interests adverse to the Debtors.

            12.   To the best of my knowledge, information and belief, insofar as I have been able

to ascertain after reasonable inquiry, neither I nor any member of the engagement team: (a) have

any connection with the U.S. Trustee, or any employee in the Office of the U.S. Trustee; or (b)

are related or connected to any United States Bankruptcy Judge for the Southern District of

Texas, or any of the District Judges for the Southern District of Texas who handle bankruptcy

cases.

            13.   To the best of my knowledge, information, and belief, insofar as I have been able

to ascertain after reasonable inquiry, the Firm has not been retained to assist any entity or person


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other than the Debtors on matters relating to, or in direct connection with, these chapter 11 cases.

            14.    In accordance with section 504 of the Bankruptcy Code and Bankruptcy Rule

2016, neither I nor the Firm have entered into any agreements, express or implied, with any other

party in interest, including the Debtors, any creditor, or any attorney for such party in interest in

these chapter 11 cases (a) for the purpose of sharing or fixing fees or other compensation to be

paid to any such party in interest or its attorneys for services rendered in connection therewith,

(b) for payment of such compensation from the assets of the estate in excess of the compensation

allowed by the Court pursuant to the applicable provisions of the Bankruptcy Code, or (c) for

payment of compensation in connection with these chapter 11 cases other than in accordance

with the applicable provisions of the Bankruptcy Code.

            15.    Accordingly, except as otherwise set forth herein, insofar as I have been able to

determine, neither the Firm, nor any employee of the Firm who will work on the engagement

holds or represents any interest adverse to the Debtors or their estates.

            16.    If the Firm discovers additional information that requires disclosure, the Firm will

promptly file a supplemental disclosure with the Court as required by Bankruptcy Rule 2014.

            17.    Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge, information and belief.

            Executed this 31st day of January, 2018.


                                                  /s/ Mark Shapiro
                                                  Mark Shapiro




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                                              Schedule 1

                                       List of Entities Searched

Debtor and counsel:                                  Sole Shareholder & CEO:
Lockwood Enterprises, Inc.                           Michael F. Lockwood
Lockwood International, Inc.
LMG Manufacturing, Inc.                              Related Entities:
Piping Components, Inc.                              LMG IC-DISC, Inc.
Lockwood Holdings, Inc.                              Lockwood PVF Canada Inc.
LH Aviation, LLC                                     Netherlands
7807 Eagle Lane, LLC                                 Lockwood Valve Australia PTY LTD
                                                     Lockwood Valve Thailand LTD
Gray Reed & McGraw LLP (Debtors’ Counsel)            TIV Valves, Inc. formerly Italian Valves
Spagnoletti & Co (Special Counsel)                   International, Inc.
                                                     TIV Holdings S.A.
                                                     TIV Valves SRL
                                                     MFL Properties, LLC

Secured Lenders and counsel:                         Briggs & Veselka Co.
Wells Fargo Bank, N.A.                               LVF Valve Solutions
Trustmark National Bank                              TWC – The Valve Company
Winstead PC                                          Hadassah Realty
                                                     O.M.B. – Italy
Top 30 Consolidated Creditors:                       USI Southwest
Allied Fitting LP                                    Sherwood Pointe LLC
PK Valve                                             Orton Italiana SRL
Orion Spa                                            VALVOSIDER
Associated Valve                                     Tri-State Supply Co.
Poyam Valves
Global Stainless Supply                              Individuals Employed in the Office of the US
COR-PRO Sys. Operating, Ltd.                         Trustee for Region 7 in Houston:
Pusan Pipe America Inc.                              Diane Livingstone
Perar S.P.A.                                         Jacqueline Boykin
Flowserve – Raleigh                                  Hector Duran
TIV Valves SRL                                       Barbara Griffin
Zimmerman, Axelrad, Meyer                            Luci Johnson-Davis
Ilshin Forged Steel Valve Co.                        Christine March
TIV Vavles SRL                                       Linda Motton
Harris County Tax Assessor-Collector                 Glenn Otto
J.D. Fields & Company Inc.                           Patricia Schmidt
Truflo Rona SRL                                      Gwen Smith
Canada Revenue Agency                                Stephen Statham
Jiangsu YDF Valve Co Ltd.                            Clarissa Waxton
Truflo Rona SRL




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                                       EXHIBIT C

                                     Proposed Order




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                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                       §
    In re:                                             §
                                                       §       Chapter 11
                                                  1
    LOCKWOOD HOLDINGS, INC., et al.,                   §
                                                       §       Case No. 18-30197 (DRJ)
              Debtors.                                 §
                                                       §       Jointly Administered
                                                       §

     ORDER (I) AUTHORIZING THE RETENTION OF GLASSRATNER ADVISORY &
     CAPITAL GROUP LLC TO PROVIDE CHIEF RESTRUCTURING OFFICER AND
     CERTAIN ADDITIONAL PERSONNEL, (II) DESIGNATING MARK SHAPIRO AS
      CHIEF RESTRUCTURING OFFICER EFFECTIVE AS OF JANUARY 26, 2018,
                    AND (III) GRANTING RELATED RELIEF

             Upon the Application (the “Application”) (I) Authorizing the Retention of GlassRatner

Advisory & Capital Group LLC (“GlassRatner”) to Provide the Debtors with a Chief

Restructuring Officer (“CRO”) and Certain Additional Personnel (“GlassRatner Personnel”), (II)

Designating Mark Shapiro as CRO Effective as of January 26, 2018, and (III) Granting Related

Relief, filed by Lockwood Holdings, Inc. and certain of its affiliates, the above-captioned debtors

and debtors in possession (the “Debtors”); 2 and the Court having reviewed the Application and

the Shapiro Declaration; and the Court having jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334; and consideration of the Application being a core proceeding pursuant

to 28 U.S.C. § 157(b)(2); and the Court finding that the relief requested in the Application is in

the best interests of the Debtors’ estates, their creditors, and other parties in interest; and it


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: Lockwood Holdings, Inc. (9726); LH Aviation, LLC (6984); Piping Components, Inc. (0197);
Lockwood International, Inc. (8597); Lockwood Enterprises, Inc. (6504); LMG Manufacturing, Inc. (9468); and
7807 Eagle Lane, LLC (7382).
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Application.


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appearing that due and sufficient notice of the Application has been given by the Debtors under

the circumstances and that no other or further notice is required; and upon the hearing on the

Application conducted on February 7, 2018 and the record made thereat; and after due

deliberation and good cause appearing therefor, it is HEREBY ORDERED THAT:

            1.    The Application is approved as set forth herein.

            2.    The Debtors are authorized to retain GlassRatner to provide the Debtors with a

CRO and certain additional GlassRatner Personnel to assist the CRO and to designate Mark

Shapiro as the Debtors’ CRO effective as of January 26, 2018. The Debtors are authorized to

retain GlassRatner on the terms set forth in the Application and Engagement Agreement, attached

as Exhibit A to the Application, subject to the terms and provisions of this Order,

notwithstanding anything contrary in the Application and Engagement Agreement.

            3.    GlassRatner will not act in any other capacity (for example, and without

limitation, as a financial advisor, claims agent/claims administrator, or investor/acquirer) in

connection with the above-captioned cases.

            4.    GlassRatner shall not be required to submit fee applications pursuant to sections

330 and 331 of the Bankruptcy Code but instead, shall submit monthly invoices to the Debtors,

and the Debtors are hereby authorized to pay, in the ordinary course of their business, all

amounts invoiced by GlassRatner for fees and expenses incurred in connection with

GlassRatner’s retention.

            5.    GlassRatner will serve on the Notice Parties quarterly reports of compensation

earned and expenses incurred on the engagement, commencing as of May 20, 2018.

Compensation Reports will summarize services provided, identify compensation earned by each

executive officer and staff employee, and itemize expenses incurred. The Notice Parties and


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parties-in-interest in these chapter 11 cases will have the right to object to fees paid and expenses

reimbursed to GlassRatner within twenty (20) days after GlassRatner files such reports.

Compensation and expenses identified in GlassRatner’s Compensation Reports will be subject to

review by this Court in the event an objection is filed.

            6.    Notwithstanding anything to the contrary in the Engagement Agreement,

GlassRatner’s retention may only be terminated by Court order, upon motion and a showing of

cause.

            7.    No principal, employee, or independent contractor of GlassRatner will serve as a

director of the Debtors during the pendency of the above-captioned cases.

            8.    To the extent the CRO and the board of directors of the Debtors (the “Board”) are

unable to agree on a particular course of action during the chapter 11 cases for non-ordinary

course transactions, the CRO and the Board shall agree upon a third party to mediate the issue

and assist in its resolution, and pay a reasonable fee for such services. If the Board and the CRO

cannot agree on a third party, or the Board and CRO remain at an impasse despite the third

party’s intervention, the matter shall be resolved by the Court upon motion.

            9.    GlassRatner has a continuing obligation to disclose any and all facts that may

have a bearing on whether GlassRatner, its affiliates, and/or any individuals working on the

engagement have any interest materially adverse to the interest of the Debtors’ estates or of any

class of creditors or equity security holders, by reason of any direct or indirect relationship to,

connection with, or interest in, the Debtors, or for any other reason.

            10.   This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order, and will have exclusive jurisdiction over GlassRatner’s

retention during the pendency of the chapter 11 cases.


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            11.   To the extent that there is any inconsistency between this Order, the Engagement

Agreement, the Shapiro Declaration, and/or the Application, the terms of this Order shall govern.

            12.   The Debtors are permitted to indemnify GlassRatner and the CRO on the terms

provided in the Engagement Agreement, not to exceed the indemnification allowable under state

law. Any claim for indemnification shall be paid only upon approval by this Court.

            13.   Notwithstanding anything to the contrary contained herein, the relief granted in

this Order and any payment to be made, or any authorization contained, hereunder shall be

subject to the terms of any orders granting the use of cash collateral approved by this Court in

these chapter 11 cases, including with respect to any budgets governing or relating to such use

(collectively, the “Cash Collateral Order”), and to the extent there is any inconsistency between

the terms of the Cash Collateral Order and any action taken or proposed to be taken hereunder,

the terms of the Cash Collateral Order shall control.

            14.   The terms and conditions of this Order will be immediately effective and

enforceable upon its entry, and the relief granted herein will be binding upon any chapter 11

trustee appointed in these chapter 11 cases, or upon any chapter 7 trustee appointed in the event

of a subsequent conversion of these chapter 11 cases to cases under chapter 7.

            15.   Notwithstanding Bankruptcy Rule 6004(h) the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

            16.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Application.



Dated:                   , 2018
                                              DAVID R. JONES
                                              CHIEF UNITED STATES BANKRUPTCY JUDGE


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